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                                      #:943


          HEIDI M. LOBSTEIN
      1
          3852 MCLAUGHLIN AVENUE,
      2   LOS ANGELES, CA 90066
          phone: 310-439-1146
      3   EMAIL: EMAIL: LOBSTEIN8@GMAIL.COM
          Plaintiffs In Pro Per
      4

      5

      6

      7

      8                        UNITED STATES DISTRICT COURT
      9                                  FOR THE
                              CENTRAL DISTRICT OF CALIFORNIA
     10                             WESTERN DIVISION

     11                                            )
          HEIDI M. LOBSTEIN , an individual,       )   Case No.:2:19-CV-07615-SVW-JPRx
     12                                            )
     13                 PLAINTIFF,                 )
                                                   )   Hon. District Judge: Hon. Steven V. Wilson
     14                      vs.                   )
                                                   )   Courtroom 10A
     15   WASHINGTON MUTUAL MORTGAGE               )
          PASS-THROUGH CERTIFICATES WMALT )
     16   SERIES 2007-0C1, and Does 1 through 100, )   PLAINTIFF’S FIRST AMENDED
     17   inclusive.                               )   COMPLAINT FOR (1) WRONGFUL
                                                   )   FORECLOSURE; (2) VIOLATION OF
     18               DEFENDANTS.                  )   CAL. CIV. CODE §2924; (3)
                                                   )   DECLARATORY RELIEF (4)
     19                                            )   DECLARATORY RELIEF; (5) BREACH
                                                   )   OF CONTRACT; (6) DECLARATORY
     20                                            )   RELIEF; (7) WRONGFUL
     21                                            )   FORECLOSURE; (9) CIVIL
                                                   )   CONSPIRACY;
     22                                            )
                                                   )   Jury Trial Demanded
     23                                            )
                                                   )
     24

     25
                TO THIS HONORABLE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
     26
          RECORD HEREIN:
     27
                Plaintiff hereby alleges FOR A FIRST AMENDED COMPLAINT AS FOLLOWS:
     28

                                       PLAINTIFF’S COMPLAINT
                                                 1
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                                                        PARTIES
      1

      2   1.        Plaintiff, HEIDI M. LOBSTEIN, resides at 3852 MCLAUGHLIN AVENUE, LOS

      3             ANGELES CA 90066, and at all relevant times, the address of the subject property,

      4             3852 MCLAUGHLIN AVENUE, LOS ANGELES, CA 90066. The subject property
      5             is located within this same county. The legal description for this Property is:
      6
                    THE LAND REFERRED TO HEREIN IS SITUATED IN THE STATE OF
      7
                    CALIFORNIA, COUNTY OF LOS ANGELES, DESCRIBED AS FOLLOWS:
      8
                    LOT 297, OF TRACT NO. 7668, IN THE CITY OF LOS ANGELES, COUNTY OF
      9
     10             LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK

     11             83 PAGE(S) 1 TO 3 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY

     12             RECORDER OF SAID COUNTY.
     13
                    A.P.N.: 4214-013-008. See Exhibits 1-2.
     14
          2.        Defendant      WASHINGTON            MUTUAL         MORTGAGE           PASS-THROUGH
     15
                    CERTIFICATES WMALT SERIES 2007-0C1, is NOT registered with the California
     16
                    Secretary of State to do business in California and is NOT A REGISTERED TRUST,
     17

     18             is not licensed to do business in this state and is doing business here unlawfully, and

     19             whose principal place of business is 1301 SECOND AVENUE, WMC 3501A
     20             SEATTLE WA 98101 (206) 500-4418 and is subject to the laws of Washington; AND
     21
                    whose closing date is January 25th, 20071, making any acquisition after that illegal,
     22
                    unenforceable and outside the terms of the offering, and therefore voids the subject
     23
                    mortgage on the grounds it separates the mortgage from the note and it is illegal to
     24

     25

     26
     27

     28   1
              https://www.sec.gov/Archives/edgar/data/1317069/000127727707000043/fwptermsheetwamu07_oa1.pdf

                                                PLAINTIFF’S COMPLAINT
                                                          2
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                 securitize a note into an already closed trust. 2
      1

      2   3.     Defendant      WASHINGTON           MUTUAL          MORTGAGE          PASS-THROUGH

      3          CERTIFICATES WMALT SERIES 2007-0C1, and which entity is currently operating

      4          outside of the statutory guidelines and thus NOT a valid California Corporation, and
      5          cannot do business in this State and knowingly doing so in violation of California
      6
                 Corporations Code Section 2100, et. seq.
      7
          4.     Defendant      WASHINGTON           MUTUAL          MORTGAGE          PASS-THROUGH
      8
                 CERTIFICATES WMALT SERIES 2007-0C1 is a “closed trust” whose principal
      9
     10          place of business is 1301 SECOND AVENUE, WMC 3501A SEATTLE WA 98101

     11          (206) 500-4418, and is subject to the laws of the State of Washington and the investors

     12          in said closed trust recovered money from two class actions of almost one hundred
     13
                 million dollars, and none of the funds recovered were ever credited to the Plaintiff’s
     14
                 account, resulting in a double recovery for the Defendant, and the Defendant received
     15
                 double payment on a void mortgage.
     16
          5.     Plaintiff is informed and believes and based on such information and belief aver that
     17

     18          each of the Defendants is contractually, strictly, negligently, intentionally, vicariously

     19          liable and or otherwise legally responsible in some manner for the acts and omissions
     20

     21

     22   2
           Thus, it has designated, pursuant to 2104. Any foreign lending institution which has not
     23   qualified to do business in this state and which engages in any of the activities set forth in
          subdivision (d) of Section 191 shall be considered by such activities to have appointed the
     24   Secretary of State as its agent for service of process for any action arising out of any such
          activities, and, on or before June 30th of each year, shall file a statement showing the address
     25   to which any notice or process may be sent in the manner and with the effect provided in
          Section 2111. See CORPORATIONS CODE SECTION 2100-2117.1. Therefore, the two
     26
          unregistered Defendants have elected to have the secretary of state accept service of process
     27   for them and a copy of the summons and complaint will be served by certified mail, return
          receipt requested, to the last known address of the Defendant, 452 FIFTH AVENUE NEW
     28   YORK NY 10018 212 525-8119.
                                            PLAINTIFF’S COMPLAINT
                                                      3
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               described herein.
      1

      2   6.   Plaintiff is informed and believe and based on such information and belief aver that

      3        Defendants     WASHINGTON            MUTUAL        MORTGAGE            PASS-THROUGH

      4        CERTIFICATES WMALT SERIES 2007-0C1,,                     and “All Persons Unknown,
      5        Claiming Any Legal Or Equitable Right, Title, Estate, Lien, Or Interest In The Property
      6
               Described In The Complaint Adverse To Plaintiff’s Title, Or Any Cloud On Plaintiff’s
      7
               Title Thereto, are and at all material times have been, the agents, servants or employees
      8
               of each other, purporting to act within the scope of said agency, service or employment
      9
     10        in performing the acts and omitting to act as averred herein.

     11   7.   Each of the Defendants named herein are believed to, and are alleged to have been

     12        acting in concert with, as employee, agent, co-conspirator or member of a joint venture
     13
               of, each of the other Defendants, and are therefore alleged to be jointly and severally
     14
               liable for the claims set forth herein, except as otherwise alleged.
     15
                                            GENERAL ALLEGATIONS
     16

     17                       FACTS COMMON TO ALL CAUSES OF ACTION

     18
          8.   On 9/9/2004, Plaintiff purchased certain real property commonly known as (the
     19
               “Subject Property”), located at 3852 MCLAUGHLIN AVENUE, LOS ANGELES,
     20
               CA 90066, Document Number XX-XXXXXXX, recorded in the official records of Los
     21

     22        Angeles County, California, Exhibit 1-2. The subject property is located within this

     23        same county.

     24   9.   The address of the subject property, 3852 MCLAUGHLIN AVENUE, LOS
     25        ANGELES, CA 90066. The subject property is located within this same county. The
     26
               legal description for this Property is:
     27

     28

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                THE LAND REFERRED TO HEREIN IS SITUATED IN THE STATE OF
      1

      2         CALIFORNIA, COUNTY OF LOS ANGELES, DESCRIBED AS FOLLOWS:

      3         LOT 297, OF TRACT NO. 7668, IN THE CITY OF LOS ANGELES, COUNTY OF

      4         LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK
      5         83 PAGE(S) 1 TO 3 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY
      6
                RECORDER OF SAID COUNTY.
      7
                A.P.N.: 4214-013-008. See Exhibits 1-2.
      8
          10.   EXHIBIT 3 – DEED OF TRUST, RECORDED IN THE OFFICIAL RECORDS OF
      9
     10         THE COUNTY OF LOS ANGELES, DOCUMENT NUMBER XX-XXXXXXX ON

     11         SEPTEMBER 9TH, 2004.

     12   11.   Said loan is an infamous World Savings Deed of Trust which was part of the Pick a
     13
                Payment fraud, and the court has already ruled that their mortgages are void as an
     14
                illegal and illicit scheme and artifice to defraud borrowers.
     15
          12.   EXHIBIT 4 - is a Golden West Reconveyance, Document Number XX-XXXXXXX.
     16
          13.   EXHIBIT 5 – DEED OF TRUST AND REQUEST FOR NOTICE OF DEFAULT
     17

     18         recorded in the official records of Los Angeles County, Document XX-XXXXXXX on July

     19         6th, 2005.
     20   14.   Said deed of trust purports to claim that Sunbelt Financial Services was the lender.
     21
          15.   A search of the public records shows that Sunbelt Financial Services was not only NOT
     22
                the lender, but it did not exist at the time as a lawful corporation, was not a registered
     23
                lender, and was doing business here unlawfully.
     24

     25   16.   Because the lender was not licensed to do business in this state, the purported loan and

     26         deed of trust is void ab initio as an illegal and unenforceable agreement.

     27

     28

                                           PLAINTIFF’S COMPLAINT
                                                     5
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          17.   EXHIBIT 6 is a Deed of Reconveyance recorded in the official records of Los Angeles
      1

      2         County on December 30th, 2005, Record number XX-XXXXXXX.

      3   18.   EXHIBIT 7 is a deed of trust in favor of Mortgageit recorded in the official records of

      4         Los Angeles County on December 7th, 2005, record number XX-XXXXXXX.
      5   19.   Mortgageit is a foreign corporation New York corporation.
      6
          20.   On May 3, 2011, a civil fraud lawsuit was filed by the United States against Deutsche
      7
                Bank AG, DB Structured Products, Inc., Deutsche Bank Securities, Inc. (collectively
      8
                “Deutsche Bank”) and MORTGAGEIT, INC. (“MORTGAGEIT”) seeking damages
      9
     10         under the federal False Claims Act for repeated false certifications to U.S. Department

     11         of Housing and Urban Development (“HUD”) in connection with the residential

     12         mortgage origination practices of MORTGAGEIT, a wholly-owned subsidiary of
     13
                Deutsche Bank AG since 2007.
     14
          21.   The Complaints filed in Manhattan federal court alleged that between 1999 and 2009,
     15
                MORTGAGEIT was a participant in the Direct Endorsement Lender Program (“DEL
     16
                program”), which delegates authority to participating private lenders to endorse
     17

     18         mortgages for Federal Housing Administration’s (“FHA’s”) insurance.

     19   22.   As a Direct Endorsement Lender, MORTGAGEIT had the authority to originate,
     20         underwrite, and endorse mortgages for FHA insurance.
     21
          23.   If a Direct Endorsement Lender approves a mortgage loan for FHA insurance and the
     22
                loan later defaults, the holder of the loan may submit an insurance claim to HUD for
     23
                the associated default costs, which HUD is obligated to pay.
     24

     25   24.   Under the DEL program, neither the FHA nor HUD reviews a loan before it is endorsed

     26         for FHA insurance.

     27

     28

                                          PLAINTIFF’S COMPLAINT
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          25.   Direct Endorsement Lenders are required to follow program rules designed to ensure
      1

      2         that they are properly underwriting and endorsing mortgages for FHA insurance.

      3   26.   Inherent in that obligation is to maintain a quality control program that can prevent and

      4         correct any underwriting deficiencies.
      5   27.   Such a quality control program must include a full review by the lender of all loans
      6
                that go into default within the first six payments, known as “early payment defaults.”
      7
          28.   Early payment defaults may be signs of problems in the underwriting process, and by
      8
                reviewing early payment defaults, Direct Endorsement Lenders are able to monitor
      9
     10         those problems, correct them, and report them to HUD

     11   29.   The Complaint alleges that MORTGAGEIT failed to comply with the requirements of

     12         a quality control program.
     13
          30.   Further, since 1999, MORTGAGEIT endorsed over 39,000 mortgages for FHA
     14
                insurance.
     15
          31.   During that same period, FHA paid in excess of $369 million in insurance claims on
     16
                over 3,200 mortgages endorsed for FHA insurance by MORTGAGEIT (including
     17

     18         more than $58 million in defaulted loans that occurred after Deutsche Bank AG’s 2007

     19         acquisition of MORTGAGEIT.
     20   32.   The Complaint alleged that a portion of those losses was caused by the false statements
     21
                that the defendants made to HUD to obtain FHA insurance on individual loans.
     22
          33.   MORTGAGEIT had knowingly falsely certified that each of these loans was eligible
     23
                for FHA insurance – in large part because MORTGAGEIT failed to perform basic due
     24

     25         diligence and repeatedly endorsed mortgage loans that were not eligible for FHA

     26         insurance.

     27

     28

                                           PLAINTIFF’S COMPLAINT
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          34.      That the mortgage which is the subject of this action has been paid by the fraud
      1

      2            perpetrated by Mortgageit and the FHA insurance has paid the amounts in full, and the

      3            FHA insurance which has no subrogation rights, and as an actual and proximate cause,

      4            the Defendant has been paid in full and has no standing to seek monetary damages
      5            from the Plaintiff.
      6
          35.      Exhibit 8 is the Mers Substitution of Trustee and Full Reconveyance, and is recorded
      7
                   in the official records of the Recorders office in Los Angeles County, California,
      8
                   Document 20070236103, on February 5th, 2007.
      9
     10   36.      Exhibit 9 is the Mortgage Store Financial, Inc., Deed of Trust, and is recorded in the

     11            official records of the Recorders office in Los Angeles County, California, Document

     12            XX-XXXXXXX, on December 21st, 2006.
     13
          37.      The controller of Mortgage Store was convicted and the store closed in June of 2008
     14
                   for floating checks and for charges that arose out of the operations of the business.
     15
          38.      That the mortgage was stemmed from the fraudulent operations of the business.
     16
          39.      That the mortgage itself is void as a result of being a part of a felonious scheme
     17

     18            concocted by Amark Avalos, the controller.

     19         40. Jason Rauschelbach and John York, the owners of The Mortgage Store, pleaded guilty
     20            earlier this year to related charges.
     21
                41. Rauschelbach is serving a 24-month prison sentence.
     22
                42. Exhibit 10 is an Assignment of Deed of Trust created and by California Reconveyance
     23
                   Company to Bank of America, NA as successor by merger to LaSalle Bank, NA as
     24

     25            trustee for Washington Mutual Mortgage Pass-Through Certificates WMALT Series

     26            2007-0C1 Trust in the 12/01/2006.

     27

     28

                                               PLAINTIFF’S COMPLAINT
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            43. Said assignment is of a securitized instrument and as a result of it being securitized
      1

      2        into a closed trust, the instrument was actually void and makes the mortgage which is

      3        the subject of this action void, See Glaski v. Bank of America, 218 Cal. App. 4th 1079

      4        - Cal: Court of Appeal, 5th Appellate Dist. 2013: “Under New York Trust Law, every
      5        sale, conveyance or other act of the trustee in contravention of the trust is void. EPTL
      6
               § 7-2.4. Therefore, the acceptance of the note and mortgage by the trustee after the date
      7
               the trust closed, would be void." (Wells Fargo Bank, N.A. v. Erobobo (N.Y.Sup.Ct.
      8
               2013) 39 Misc.3d 1220(A) [2013 WL 1831799, p. *8]; see Levitin & Twomey,
      9
     10        Mortgage Servicing, supra, 28 Yale J. on Reg. at p. 14, fn. 35 [under N.Y. law, any

     11        transfer to the trust in contravention of the trust documents is void].) Relying on

     12        Erobobo, a bankruptcy court recently concluded "that under New York law,
     13
               assignment of the Saldivars' Note after the start up day is void ab initio. As such, none
     14
               of the Saldivars' claims will be dismissed for lack of standing." (In re Saldivar (Bankr.
     15
               S.D.Tex., June 5, 2013, No. 11-10689) 2013 WL 2452699, p. *4.)
     16
            44. EXHIBIT 11 is a Substitution of Trustee and is recorded in the official records of the
     17

     18        Recorders office in Los Angeles County, California, Document 20091620619, on

     19        October 27, 2009.
     20     45. Said document purports to have been executed by Deborah Brignac, vice president of
     21
               Bank of America, National Association as successor by merger to LaSalle Bank NA
     22
               as trustee for Washington Mutual Mortgage Pass-Through Certificates WMALT
     23
               Series 2007-0C1 Trust by JPMorgan Chase Bank, National Association, as attorney in
     24

     25        fact.

     26     46. A search of the public records does not reveal any pre-recorded authority for Deborah

     27        Brignac to execute documents on behalf of Bank of America but instead revealed that
     28

                                          PLAINTIFF’S COMPLAINT
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                    she was not employed as a vice president of Bank of America, but instead an employee
       1

       2            of California Reconveyance Company who was convicted of being part of the Florida

       3            foreclosure mill, Albertelli Law, who acquired California Reconeyance Company, a

       4            California based trustee firm, from J.P. Morgan Chase Bank NA in December 2013.
       5            Albertelli has put Deborah Brignac, a notorious robosigner, in charge of running
       6
                    ALAW's west coast operations. CRC wrongfully foreclosed on thousands of homes
       7
                    in California and Arizona using robosigned documents.
       8
                 47. That the mortgage which the substitution is based is VOID as set forth above.
       9
      10         48. That EXHIBIT 12 is a fraudulent notice of default, and is recorded in the official

      11            records of the Recorders office in Los Angeles County, California, Document

      12            20091620620, on October 27th, 2009 recorded by the convicted California
      13
                    Reconveyance Company.
      14
                 49. That Exhibit 13 is a Notice of Trustee’s Sale and is recorded in the official records of
      15
                    the Recorders office in Los Angeles County, California, Document 20100136998, on
      16
                    January 29th, 2010 recorded by the convicted California Reconveyance Company.
      17

      18   50.      Note that it too was signed by the forger, Deborah Brignac, as Vice President of Now

      19            California Reconveyance Company.
      20   51.      Attached to said notice is an affidavit from JP MORGAN CHASE BANK, NA, who
      21
                    is not listed on the void mortgage, but claims now to be the servicer for the Defendant.
      22
           52.      Said notice falsely claims that the time frame did not apply, yet it was applicable,
      23
                    making the affirmation perjury.
      24

      25   53.      Said affirmation was not signed, but simply had a typed name, in direct violation of

      26            code.

      27

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                                               PLAINTIFF’S COMPLAINT
                                                         10
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           54.   Exhibit 14 is a Substitution of Trustee and Full Reconveyance, and is recorded in the
       1

       2         official records of the Recorders office in Los Angeles County, California, Document

       3         20101819203, on December 9th, 2010.

       4   55.   Exhibit 15 is a Substitution of Trustee and Full Reconveyance, and is recorded in the
       5         official records of the Recorders office in Los Angeles County, California, Document
       6
                 20101819203 on December 9th, 2010.
       7
           56.   Exhibit 15 is a Substitution of Trustee and Full Reconveyance, and is recorded in the
       8
                 official records of the Recorders office in Los Angeles County, California, Document
       9
      10         20101819203 on December 9th, 2010 recorded by the convicted California

      11         Reconveyance Company.

      12   57.   EXHIBIT 16 is a Notice of Trustee’s Sale, and is recorded in the official records of the
      13
                 Recorders office in Los Angeles County, California, Document 20110178407 on
      14
                 February 2nd, 2011 recorded by the convicted California Reconveyance Company.
      15
           58.   EXHIBIT 17 is a Substitution of Trustee and Full Reconveyance, and is recorded in
      16
                 the official records of the Recorders office in Los Angeles County, California,
      17

      18         Document 20120302504 on February 27th, 2012 recorded by the convicted California

      19         Reconveyance Company.
      20   59.   EXHIBIT 18 is a Corporate Assignment of Deed of Trust, and is recorded in the
      21
                 official records of the Recorders office in Los Angeles County, California, Document
      22
                 20120703205 on May 10th, 2012 recorded by the JPMorgan Chase Bank, who claimed
      23
                 originally to be a servicer, and in this document claims to be the successor in interest
      24

      25         to the defunct Mortgage Store and purported successor, the Trust, and the void

      26         mortgage.

      27

      28

                                           PLAINTIFF’S COMPLAINT
                                                     11
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           60.   Said document admits on its face that JPMorgan Chase is responsible for receiving
       1

       2         payments and said document was prepared in Florida, County of Pinellas.

       3   61.   In Florida, it constitutes a felony to prepare for recording and recording in the official

       4         records a forged and / or false document.
       5   62.   Said document is a part of a forgery and thus is void and unenforceable under Florida
       6
                 Law.
       7
           63.   That Osceola County completed an investigation of their recorded documents and
       8
                 found that JP Morgan Chase had violated multiple felonies when they prepared and
       9
      10         recorded similar false documents.

      11   64.   That under the laws of the State of Florida, a power of attorney had to be recorded in

      12         the official records before any such preparation and signature of a document for
      13
                 recording in the official records, and a search of LaQuina Wilson Doaty evidences that
      14
                 no such authority exists.
      15
           65.   That because the document is illegal in the state where it was created, it is VOID ab
      16
                 initio.
      17

      18   66.   EXHIBIT 19 is a NOTICE OF TRUSTEE’S SALE, and is recorded in the official

      19         records of the Recorders office in Los Angeles County, California, Document
      20         20121675620 on November 5th, 2012 recorded by the same convicted California
      21
                 Reconveyance Company.
      22
           67.   EXHIBIT 20 is a SUBSTITUTION OF TRUSTEE, and is recorded in the official
      23
                 records of the Recorders office in Los Angeles County, California, Document
      24

      25         20150551613 on May 13th, 2015 recorded by Trustee Corps.

      26   68.   Said document is void as EXHIBIT 18 is a Corporate Assignment of Deed of Trust,

      27         document 20150551613, recorded in the official records of Los Angeles County on
      28

                                             PLAINTIFF’S COMPLAINT
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                 May 13th, 2015 is a felony, perjury and a fraud perpetrated on the people, the Plaintiff
       1

       2         and the Court.

       3   69.   Exhibit 20 purports to claim that U.S. Bank National Association has substituted the

       4         trustee, but as seen in Exhibit 18, JPMorgan Chase claims to be the assignee of the
       5         subject mortgage, and therefore there is no authority to substitute trustees by the
       6
                 assignor, US Bank.
       7
           70.   This is slander on the Plaintiffs title and a conspiracy exists between Defendant
       8
                 WASHINGTON MUTUAL MORTGAGE PASS-THROUGH CERTIFICATES
       9
      10         WMALT SERIES 2007-0C1 and JP Morgan Chase Bank, NA who both apparently

      11         believe that felonies are still acceptable in this state.

      12   71.   That said document was created in Florida, where it constitutes a felony to prepare for
      13
                 recording and record in the official records a fraudulent document such as Exhibit 20.
      14
           72.   EXHIBIT 21 is a Trustee Corps Notice of Trustees sale, and recorded in the official
      15
                 records of Los Angeles County, California 20150609241 on May 26th, 2015.
      16
           73.   That Exhibit is a fraudulent document as they claim to be selling the property to enforce
      17

      18         a void mortgage, which was transferred into a closed trust by an entity that has no

      19         standing to do so.
      20   74.   EXHIBIT 22 is a Trustee Corps Notice of Trustees sale, and recorded in the official
      21
                 records of Los Angeles County, California 20151072190 on August 31st, 2015.
      22
           75.   That Exhibit 22 is a fraudulent document as they claim to be selling the property to
      23
                 enforce a void mortgage, which was transferred into a closed trust by an entity that has
      24

      25         no standing to do so.

      26
      27

      28

                                             PLAINTIFF’S COMPLAINT
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           76.   EXHIBIT 23 is an admission of fraud and a Notice of Rescission of Notice of Default
       1

       2         and Election to Sell Under Deed of Trust, and recorded in the official records of Los

       3         Angeles County, California 20161343577 on October 31st, 2016.

       4   77.   EXHIBIT 24 is another fraudulent Substitution of Trustee and recorded in the official
       5         records of Los Angeles County, California 20181079618 on October 31st, 2016, this
       6
                 time designating National Default Servicing Corporation.
       7
           78.   Multiple lawsuits have been brought and been successful against National Default
       8
                 Servicing Corporation, including a Nevada class action to disgorge them of all profits,
       9
      10         which is similar to the conduct committed against the Plaintiff herein, but Plaintiff was

      11         not a party to that class action since it was for Nevada Residents.

      12   79.   Again, fraudulently, the claimed beneficiary in the fraudulently recorded document,
      13
                 contrary to the claims of JPMorgan Chase Bank, NA (Exhibit 18), is in favor of US
      14
                 Bank.
      15
           80.   EXHIBIT 25 is a short form deed of trust and assignments of rents by CAA Inc and
      16
                 recorded in the official records of Los Angeles County, California 20101843661 on
      17

      18         December 14th, 2010.

      19   81.   A search of the public records shows that it had a Registration Date 03/11/1991 and
      20         was suspended from doing business by the FTB and therefore the deed of trust was
      21
                 void ab initio as they were barred from doing business in this state pursuant to order
      22
                 by the FTB.
      23
           82.   EXHIBIT 26 is a grant deed from Heidi Lobstein to the McLaughlin Revocable Living
      24

      25         Trust Dated November 17th, 2010.

      26   83.   EXHIBIT 27 is the Lis Pendens Document 20130755532 recorded in the official

      27         records of Los Angeles County, California on May 20th, 2013.
      28

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           84.   EXHIBIT 28 is the Grant Deed in favor of Bayline Holding for 70% and Levitical
       1

       2         Holdings LLC, a Nevada Corporation of 30%.

       3   85.   EXHIBIT 29 is the Deed of Trust in favor of Limelite Reconveyance, recorded in the

       4         official records of Los Angeles County, California Document Number 20151189072,
       5         on September 24th, 2015.
       6
           86.   EXHIBIT 30 is the Order Granting Relief from the Automatic Stay, recorded in the
       7
                 official records of Los Angeles County, California Document Number 20160301626,
       8
                 on March 18, 2016.
       9
      10   87.   EXHIBIT 31 is the GRANT DEED from Bayline Holding and Levitical Holding to

      11         Heidi M. Lobstein, recorded in the official records of Los Angeles County, on April

      12         5th, 2016, document number 20160371581.
      13
           88.   EXHIBIT 32 is the Notice of Assessment, recorded in the official records of Los
      14
                 Angeles County, Document Number 20170535425, on May 15th, 2017.
      15
           89.   EXHIBIT 33 is the Notice of Assessment, recorded in the official records of Los
      16
                 Angeles County, Document Number 20170535425, on May 15th, 2017.
      17

      18   90.   The plaintiff falls within the class of borrowers who can challenge a trustee's sale.

      19         (Robinson v. Countrywide Home Loans, Inc. (2011) 199 Cal.App.4th 42; Gomes v.
      20         Countrywide Home Loans, Inc. (2011) 192 Cal.App.4th 1149.
      21
           91.   The borrower may seek to set aside the trustee's sale for irregularities that are
      22
                 prejudicial. (See Angell v. Superior Court (1999) 73 Cal.App.4th 691, 700 [person
      23
                 challenging sale must show that the failure to comply with procedural requirements
      24

      25         for a foreclosure sale caused prejudice].)

      26   92.   The appointment of the trustee / substitution of trustee was void as a result of being

      27         executed without actual authority to do so and there exists a serious break in the chain
      28

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                 of assignments where Chase claims to be the successor by assignment, but then the US
       1

       2         Bank as Trustee continued to act as owner, and recorded a chain of fraudulent

       3         substitutions of trustees without authority to do so.

       4   93.   The process of recording the notice of default after substitution of trustee is not only a
       5         violation of the civil code and non-judicial foreclosure process, but also grounds
       6
                 entitling the Plaintiff for monetary relief, compensatory damages of one million
       7
                 dollars, and exemplary damages of three times the amount in the sum of three million
       8
                 dollars in the event of default.
       9
      10   94.   This defect constitutes a void foreclosure and the court can either set-aside and vacate

      11         the foreclosure, or, in this instance, award monetary compensation to the Plaintiff

      12         based on the fair market value of the property of three million dollars, and treble those
      13
                 damages, or nine million dollars in the event of default.
      14
           95.   As stated above, the trust was closed at the time, and a violation of the agreement that
      15
                 the lender cannot acquire assets after the trust was closed; and especially falsely
      16
                 claimed they possessed the original note and deed of trust when they did not.
      17

      18   96.   The entire assignment of deed of trust is a sham, recorded in the official records is a

      19         felonious series of actions which almost led to the entire collapse of the country’s
      20         financial institutions.
      21
           97.   It is a clear act of felonious intent to record false documents in the official records;
      22
                 steal the Plaintiffs equity in his home to profit by fraudulently imposing trumped up
      23
                 charges on Plaintiff’s account.
      24

      25   98.   All the criminal activity, the felonious documents, the fraudulent execution of

      26         documents, the falsely imposed charges, all were done for the purpose of selling the

      27         Plaintiff’s homestead home and stealing her equity.
      28

                                            PLAINTIFF’S COMPLAINT
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           99.    The criminal and void mortgages and recorded documents were intended to cause and
       1

       2          did cause the Plaintiff to suffer severe emotional distress.

       3   100.   Even the notice of sale seeks to impose interest, late charges and other fees which were

       4          neither due nor owing.
       5   101.   The Defendant’s agent and did the conduct complained of, including the recording and
       6
                  notice to the plaintiff for the purpose and was known to cause, was intended to cause,
       7
                  and did actually and proximately cause the Plaintiff to suffer severe emotional distress,
       8
                  upset, aggravation, loss of sleep, and personal injury.
       9
      10   102.   Said conduct of the employees and participation in their recordation of the fraudulent

      11          document in bank records and in the public records is a felony and fraud.

      12   103.   The fraudulent Assignment of Deed of Trust, held by a Corporation which is operating
      13
                  ulta vires, was recorded using means of interstate commerce (the US or other public
      14
                  mail system); recorded in the official records of LOS ANGELES County; and the
      15
                  information contained thereon was recorded in the bank records of Defendant, in
      16
                  violation of Statutes, including, but not limited to: 15 U.S.C. § 1692 ET. SEQ.; MAIL
      17

      18          AND WIRE FRAUD 18 U.S.C., SECTIONS 1341, 1343; BANK FRAUD 18 U.S.C.

      19          1341, 1344; 18 U.S.C. § 1001; 18 U.S.C. § 1005; and 12 C.F.R. §202.16, among others.
      20   104.   Because the true lender was not a party to the fraudulent foreclosure, then no payment
      21
                  has been made to any of the Defendants within the past five years, and thus their right
      22
                  to recover is barred by the CALIFORNIA Statute of Limitations, California Code of
      23
                  Civil Procedure § 321.
      24

      25   105.   Defendants, and each of them, have slandered the title of the Plaintiff, harming her

      26          creditworthiness, and destroyed her borrowing power on the property without having

      27          any interest thereon.
      28

                                             PLAINTIFF’S COMPLAINT
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           106.   That as a result, the notes secured by the mortgages, the mortgages, assignments, and
       1

       2          judgment are all fraudulent and void ab initio as a part of a scheme or plan to defraud

       3          the Plaintiff and others similarly situated as a regular scheme for which the OCC has

       4          sanctioned and punished the Defendant, and as a result of all the allegations contained
       5          herein in this suit, the notes secured by the mortgages, the mortgages and the
       6
                  assignments thereon all must be stricken as fraudulent and void ab initio.
       7
              107.       That “Plaintiff has standing to challenge the void substitution of trustee. If a
       8
                  substitution of trustee is fraudulent, then a nonjudicial foreclosure sale based on that
       9
      10          substitution is void. See Pro Value Props., Inc. v. Quality Loan Serv. Corp., 170 Cal.

      11          App. 4th 579, 583 (2009) (failure to comply with CAL. CIV. CODE § 2934a(a)(1)

      12          renders subsequent nonjudicial foreclosure sale void); Miller v. Wells Fargo Bank, No.
      13
                  C-12-2282 EMC, 2012 WL 1945498, at *2, 4 (N.D. Cal. May 30, 2012) (Chen, J.)
      14
                  (granting preliminary injunction preventing foreclosure sale because the plaintiff was
      15
                  likely to prevail on claim that foreclosure was improper due to fraudulent substitution
      16
                  of trustee); Glaski v. Bank of Am., Nat'l Ass'n, 218 Cal. App. 4th 1079, 1100 (2013)
      17

      18          (foreclosure sale is void if the foreclosing entity lacked the authority to foreclose on

      19          the property)..
      20   108.   The conduct of the Defendants, and each of them, also violates Civil Code Section
      21
                  2924, 2934, and 2932.5 and California Penal Code Section 115 that says it is a felony
      22
                  to record a false document that affects the title to residential properties of not more
      23
                  than four units.
      24

      25   109.   California Penal Code Section 470(a) – (c) makes the conduct of the Defendants, and

      26          each of them, illegal, and void as fraud and forgery.

      27

      28

                                            PLAINTIFF’S COMPLAINT
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           110.   Plaintiff further refers to herein, and incorporates by reference, Exhibits 1- 33,
       1

       2          inclusive, clearly showing the Defendants, and each of them, knew their conduct was

       3          fraudulent, by their act of Concealment of Assets and multiple violations of Federal

       4          and State Laws.
       5   111.   Said recording of the fraudulent assignment of a Deed of Trust, constitutes separate
       6
                  violations of the same statutes, both State and Federal, as set forth above, and deprives
       7
                  the Plaintiff of his US and California Constitutional Due Process rights, by depriving
       8
                  him of his property unlawfully without the due process of law and the Equal Protection
       9
      10          of the Law.

      11   112.   Because Defendant’s fraudulent execution of the Substitution of Trustee; and their

      12          knowledge of their fraud by their act of rescinding the first Notice of Default; clearly
      13
                  deprives them of any statutory protection provided to a valid Trustee.
      14
           113.   The Defendants, and each of them, co-conspired to commit fraud upon the Plaintiff
      15
                  and other homeowners similarly situated.
      16
           114.   The Defendants, and each of them, have committed a pattern of mortgage fraud and
      17

      18          other related acts wrongfully committed by the Defendants, and each of them, and

      19          established a pattern of wrongful behavior, a criminal conspiracy and joint venture
      20          between the defendants and each of them and their lawyers, to harm the Plaintiff and
      21
                  others similarly situated.
      22
           115.   The Defendants, and each of them, showed a pattern and practice sufficient to warrant
      23
                  Plaintiffs’ claims for Civil Conspiracy against Defendants, and each of them, jointly
      24

      25          and severally, for the violations as pled herein.

      26
      27

      28

                                               PLAINTIFF’S COMPLAINT
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           116.   Defendants knew that the conduct complained of herein was fraudulent, and benefitted
       1

       2          and attempted to benefit financially therefrom to the economic and emotional

       3          detriment of the Plaintiff.

       4   117.   That, after their fraudulent conduct, it was mailed by means of the US Mail or other
       5          means of interstate commerce and mail services, to deliver the fraudulent document to
       6
                  be recorded with the Official Records of the this County.
       7
           118.   That the fraudulent documents were mailed across state lines, using means of interstate
       8
                  commerce, in furtherance of conspiracy of the Defendants, and each of them.
       9
      10   119.   That, when the Defendants and each of them, knowing that the documents, or

      11          reasonably should have known the documents were in willful violation of the law and

      12          recorded the forged documents with the County, the Defendants, and each of them,
      13
                  acted to further the conspiracy with each of the other Defendants, and furthered the
      14
                  Defendant and each of their violations of the Federal Fair Debt Collection Practices
      15
                  Act (“FDCPA”), 15 U.S.C. § 1692 et. seq.;
      16
           120.   That, when Defendants with the knowledge that the documents, or reasonably should
      17

      18          have known the documents were fraudulent and forgeries, they willfully and

      19          volitionally violated the Racketeering, Conspiracy to Engage in a Pattern of
      20          Racketeering Activity, (RICO) 18 U.S.C. 1961 et seq.;
      21
           121.   That, as a result of that higher fiduciary duty standard, special skill and training, when
      22
                  Defendants, and each of them, presented for recording to the County Recorder
      23
                  documents which they knew were fraudulent; they, as a fiduciary, had the special skill,
      24

      25          or should have had the special skill and knowledge, to know that the document

      26          presented to record were, in fact, fraudulent; and in so doing knew they would be

      27          breaching the special fiduciary duties owed the Plaintiff.
      28

                                                PLAINTIFF’S COMPLAINT
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           122.   That, when Defendants, and each of them, with the knowledge that the documents and
       1

       2          bank entries, or reasonably should have known the documents and bank entries were

       3          fraudulent; the defendants and each of them committed, and acted to further the

       4          conspiracy with the other Defendants, in violations of the 18 U.S.C. 1964, (Civil Rico
       5          Remedies), a predicate act for Civil Conspiracy.
       6
           123.   That, when Defendants, knowing that the documents and bank entries were fraudulent,
       7
                  they committed acts, and acted to further the conspiracy with the other Defendants, in
       8
                  their violations of the Mail and Wire Fraud 18 U.S.C., sections 1341, 1343.
       9
      10   124.   That, when the Defendants, and each of them, knowing that the documents and bank

      11          entries, or reasonably should have known the documents and bank entries were

      12          fraudulent, and willfully and volitionally entered false information in bank records,
      13
                  and thus actually and proximately committed acts to further the conspiracy with the
      14
                  remaining Defendants, in their violations of the bank fraud statutes, 18 U.S.C. 1341,
      15
                  1344.
      16
           125.   That violation of 18 USC 1341 and 1344, 18 U.S.C. § 1001 and 1005 constitute the
      17

      18          underlying crime for the civil conspiracy claim in this complaint.

      19   126.   That, when the Defendants, and each of them, knowing that the documents, or
      20          reasonably should have known the documents and fraudulent bank entries willfully
      21
                  and volitionally committed, and acted to further the conspiracy with the remaining
      22
                  Defendants, to assist them in their violations of the Statute 18 U.S.C. § 1001;
      23
           127.   That, when Defendants, and each of them, knowing that the documents and bank
      24

      25          entries, or reasonably should have known the documents were forgeries, fraudulently

      26          executed and fraudulently notarized, willfully and volitionally entered false

      27

      28

                                            PLAINTIFF’S COMPLAINT
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                  information in the bank records and furthered their violations of the Statute 18 U.S.C.
       1

       2          § 1005.

       3   128.   At various times and places partially enumerated in Plaintiffs’ documentary material,

       4          all Defendants did acquire and/or maintain, directly or indirectly, an interest in or
       5          control of a Criminal Enterprise of individuals who were associated in fact and who
       6
                  did engage in, and whose activities did affect, interstate and foreign commerce, all in
       7
                  violation of 18 U.S.C. §§ 1961(4), (5), (9), and 1962(b) as a predicate act for Civil
       8
                  Conspiracy.
       9
      10   129.   Defendant      WASHINGTON            MUTUAL           MORTGAGE         PASS-THROUGH

      11          CERTIFICATES WMALT SERIES 2007-0C1, committed acts of predatory lending

      12          in violation of state and federal banking laws, entitling the Plaintiff to an order striking
      13
                  the recorded documents, Exhibits 2-33, inclusive.
      14
           130.   All entitling the Plaintiff to monetary damages of three million dollars and treble
      15
                  damages of nine million dollars.
      16

      17                         FIRST CAUSE OF ACTION FOR
                                  WRONGFUL FORECLOSURE
      18                         (AGAINST ALL DEFENDANTS)
                     (MONETARY DAMAGES AND EMOTIONAL DISTRESS DAMAGES)
      19
           131.   Plaintiff incorporates herein by reference the allegations made in paragraphs 1 through
      20

      21          1-130, inclusive, as though fully set forth herein.

      22   132.   Based upon the Exhibits 2-33, inclusive, and allegations incorporated herein, the

      23          conduct of the Defendants clearly show the transfer process taken by the Defendants,
      24          and each of them, are wholly invalid; done without proper authority; and the Trustee’s
      25
                  substitution and sale of the Plaintiff’s Property by the fraudulently appointed Trustee,
      26
                  in violation of the statutes which are strictly construed governing the non-judicial
      27
                  foreclosure process, where the Plaintiff is not currently authorized to conduct business
      28

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                  in the State of California makes the future sale invalid, unauthorized, based on forged
       1

       2          and illegal Substitution of Trustee, forged and illegal assignments, all of which make

       3          them simply void ab initio.

       4      133.          “Plaintiff has standing to challenge the void substitution of trustee. If a
       5          substitution of trustee is fraudulent, then a nonjudicial foreclosure sale based on that
       6
                  substitution is void. See Pro Value Props., Inc. v. Quality Loan Serv. Corp., 170 Cal.
       7
                  App. 4th 579, 583 (2009) (failure to comply with CAL. CIV. CODE § 2934a(a)(1)
       8
                  renders subsequent nonjudicial foreclosure sale void); Miller v. Wells Fargo Bank, No.
       9
      10          C-12-2282 EMC, 2012 WL 1945498, at *2, 4 (N.D. Cal. May 30, 2012) (Chen, J.)

      11          (granting preliminary injunction preventing foreclosure sale because the plaintiff was

      12          likely to prevail on claim that foreclosure was improper due to fraudulent substitution
      13
                  of trustee); Glaski v. Bank of Am., Nat'l Ass'n, 218 Cal. App. 4th 1079, 1100 (2013)
      14
                  (foreclosure sale is void if the foreclosing entity lacked the authority to foreclose on
      15
                  the property).
      16
              134.          The Defendant has separated the note from the mortgage making the mortgage
      17

      18          a nullity. “It is indisputable that a note cannot be separated from the mortgage, and in

      19          so doing, the mortgage is a nullity.” Carpenter v. Longan, 83 U.S. 16 Wall. 271 271
      20          (1872).
      21
              135.          Thus, the Trustee’s sale of the subject property was void and without actual
      22
                  authority to do so; the subject deed of trust, should be stricken as void ab initio. Glaski
      23
                  v. Bank of Am., Nat'l Ass'n, 218 Cal. App. 4th 1079, 1100 (2013)
      24

      25   136.   Because Defendant WASHINGTON MUTUAL MORTGAGE PASS-THROUGH

      26          CERTIFICATES WMALT SERIES 2007-0C1,’s fraudulent execution of the

      27          Substitution of Trustee; execution of a fraudulent assignment of Deed of Trust, and
      28

                                             PLAINTIFF’S COMPLAINT
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                    their knowledge of their fraud by their act of rescinding the first Notice of Default;
       1

       2            clearly deprives them of any statutory protection provided to a valid Trustee, shows

       3            that they, as an unauthorized Trustee cannot even assert a claim of good faith in dealing

       4            with persons who apparently held legal title.
       5   137.     Even if they tried, it is not in itself sufficient basis for relief3.
       6
           138.     Defendant        WASHINGTON               MUTUAL           MORTGAGE              PASS-THROUGH
       7
                    CERTIFICATES WMALT SERIES 2007-0C1, was not the lawful trustee and no
       8
                    authority to act on behalf of the beneficiary when unauthorized, forged and illegal
       9
      10            Substitution of Trustee and fraudulent assignment of mortgage, were filed and

      11            recorded with the County Recorder, which purported to give Defendant itself

      12            fraudulent authority and therefore, it was unauthorized to initiate and attempt to carry
      13
                    out the foreclosure sale of the Subject Property and NOT entitled to ANY statutory
      14
                    protection which can be asserted by a Trustee as provided under Section 2924(b).
      15
           139.     The Defendants, and each of them, knew, or reasonably should have known that by
      16
                    institution of a fraudulent foreclosure, slander of title, filing false documents in the
      17

      18            official records of this county (a FELONY) as alleged herein, the Plaintiff would suffer

      19            severe emotional distress4, aggravation, upset, trauma, loss of sleep, and
      20

      21
           3
             6 Angles, Inc. v. Stuart-Wright Mortgage, Inc. (2001), 85 Cal. App. 4th 1279 at 1285 where the Court stated:
      22   “it is the general rule that courts have power to vacate a foreclosure sale where there has been fraud in the
           procurement of the foreclosure decree or where the sale has been improperly, unfairly or unlawfully conducted,
      23   or is tainted by fraud or where there has been such a mistake that to allow it to stand would be inequitable to
           purchaser and parties.” Therefore, a forged “robo-signed” signature as shown in Exhibits 2-16 attached hereto,
      24   the Court in the instant case should be inclined to permanently stay and vacate the foreclosure documents of the
           Subject Property. Additionally, in Bank of America v. La Jolla Group II (2005)129 Cal.App.4th 706 , 28
      25   Cal.Rptr.3d 825, the California Court of Appeals held that if a trustee is not contractually empowered under a
           deed of trust to hold a sale, it is totally void. See also Trout v. Trout, (1934), 200 Cal. 652 at 656. Glaski v.
           Bank of Am., Nat'l Ass'n, 218 Cal. App. 4th 1079, 1100 (2013)
      26
      27
           4
            “Though there is a split in authority in the Northern District as to whether emotional
           distress satisfies RESPA's "actual damages" requirement, the court finds the cases accepting
      28   emotional distress as a form of actual damages more persuasive. Phillips v. Bank of Am.
                                                   PLAINTIFF’S COMPLAINT
                                                             24
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                  manifestations of the emotional distress caused by the fraudulent recording of forged
       1

       2          documents with the intent to foreclose without standing to do so.

       3   140.   That, as an actual and proximate cause of the conduct of the Defendants, and each of

       4          them, as alleged herein, including, but not limited to, recording false documents in the
       5          official records; securitizing a mortgage into a closed trust, thereby making it void, and
       6
                  then attempting to collect money based on the void mortgage; slander of title;
       7
                  separating the note from the mortgage, voiding it (Carpenter v. Longan, Ibid.), and
       8
                  then attempting to collect money on a void mortgage; all constitutes a wrongful attempt
       9
      10          to collect a void obligation in violation of the FDCPA; the CDCPA; the

      11   141.   That in the event the court permits a foreclosure sale, it will be wrongful and the

      12          Plaintiff has already suffered, and will suffer severe emotional distress that was
      13
                  actually and proximately caused by the wrongful conduct of the Defendants, and each
      14
                  of them, and their and employees.
      15
           142.   Wherefore the Plaintiff prays for relief as set forth below.
      16

      17                             SECOND CAUSE OF ACTION
                                     VIOLATION OF CALIFORNIA
      18                              CIVIL CODE SECTION 2924
                         (AGAINST DEFENDANT NATIONAL DEFAULT SERVICING)
      19
           143.   Plaintiff incorporates herein by reference the allegations made in paragraphs 1 through
      20

      21

      22
           Corp., No. 5:10-cv-04561 EJD, 2011 WL 4844274 (N.D. Cal. Oct. 11, 2011) (explaining
      23   that the Ninth Circuit has not decided this issue and that district courts are split); see
           Houston v. U.S. Bank Home Mortg. Wisconsin Servicing, 505 F. App'x 543, 548 n.6 (6th Cir.
      24   2012) ("We find nothing in the text of § 2605(f), or in RESPA more broadly, to preclude
           'actual damages' from including emotional damages, provided that they are adequately
      25
           proven."); McLean v. GMAC Mortg. Corp., 398 F. App'x 467, 471 (11th Cir. 2010)
      26   (suggesting that emotional distress satisfies the actual damages requirement, as long as the
           party proves causation).”Vethody v. Nat'l Default Servicing Corp., Case No. 16-cv-04713-
      27   HRL, 4 n.1 (N.D. Cal. Aug. 4, 2017)

      28

                                             PLAINTIFF’S COMPLAINT
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                  142, inclusive, as though fully set forth herein.
       1

       2   144.   Because of the foregoing, the Defendant, NATIONAL DEFAULT SERVICING, is

       3          not entitled to any protection provided by California Civil §2924.

       4   145.   Plaintiff respectfully requests that the court declare that NATIONAL DEFAULT
       5          SERVICING, is Not a VALIDLY APPOINTED Trustee; is NOT authorized to Do
       6
                  business in the State of California; has withdrawn their agent for service of process;
       7
                  fraudulently executed and recorded false documents, including Exhibits 2-33,
       8
                  inclusive; and
       9
      10   146.   An Order finding that Exhibits 2-33 void ab initio; fraudulent; and stricken.

      11   147.   That the Plaintiff is entitled to compensatory damages as a result against the

      12          Defendants, and each of them, in the sum of one million dollars, and treble that for
      13
                  three million dollars in the event of default.
      14
           148.   Wherefore Plaintiff Prays for Relief as Set Forth Below:
      15
                                              THIRD CAUSE OF ACTION
      16                                       DECLARATORY RELIEF
      17                                    (AGAINST ALL DEFENDANTS)

      18   149.   Plaintiff incorporates herein by reference the allegations made in paragraphs 1 through

      19          147, inclusive, as though fully set forth herein.
      20   150.   The Defendant did not have the legal authority to foreclose, i.e., the authority to
      21
                  exercise the power of sale as an assignee of Deed of Trust, because the Foreclosing
      22
                  Defendants’ interest was never acknowledged and recorded in violation of 12 U.S.C.
      23
                  Section 2605(k), which requires that loan servicers comply with regulations passed by
      24

      25          the Bureau of Consumer Financial Protection, and 12 C.F.R. Section 1024.40(b),

      26          which requires that servicers maintain policies and procedures to ensure they can

      27          provide borrowers with accurate information regarding loan modification applications.
      28

                                             PLAINTIFF’S COMPLAINT
                                                       26
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           151. What’s more, is that violation of the statute is codified in California Evidence Code
       1

       2         Section 669. Hutchins v. Nationstar Mortg. LLC, No. 16-cv-7067-PJH, 2017 WL

       3         2021363, *3 (N.D. Cal. May 12, 2017).

       4   152. Section 669 establishes a presumption of negligence if (1) a person has violated a
       5         statute or regulation, (2) the violation harmed a person or property, (3) the injury is of
       6
                 the sort the statute or regulation was intended to prevent, and (4) the person harmed
       7
                 belonged to the class of persons the statute or regulation was designed to protect. Cal.
       8
                 Evid. Code § 669.
       9
      10   153. The presumption of negligence created by Section 669, however, "concerns the

      11         standard of care, rather than the duty of care." Rice v. Center Point, Inc., 154 Cal. App.

      12         4th 949, 958 (2007) (quoting Rosales v. City of Los Angeles, 82 Cal. App. 4th 419,
      13
                 430 (2000)) and Defendant as a trustee has fallen below the standard of care, as it
      14
                 knows, or reasonably should have known, that it was not validly appointed and was
      15
                 seeking to enforce a void deed of trust by means of a non-judicial sale; and knows or
      16
                 reasonably should have known, that it was not validly appointed, as the appointment
      17

      18         came from the entity holding the void deed of trust.

      19   154. The Defendant is also guilty of violating federal statutes which prohibit the use of mail
      20         and wire to transmit false documents.
      21
           155. Here, the documents which were mailed include the monthly statements demanding
      22
                 payment that have been generated; and the recorded substitution of a trustee after the
      23
                 subject mortgage was voided by being securitized into a closed trust and after it was
      24

      25         separated from the note.

      26   156. The other statutes upon which this claim is based includes 15 U.S.C. § 1692 ET. SEQ.;

      27         MAIL AND WIRE FRAUD 18 U.S.C., SECTIONS 1341, 1343; BANK FRAUD 18
      28

                                            PLAINTIFF’S COMPLAINT
                                                      27
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                  U.S.C. 1341, 1344; 18 U.S.C. § 1001; 18 U.S.C. § 1005; 12 C.F.R. §202.16, among
       1

       2          other California Criminal and Civil Codes as incorporated herein.

       3   157.   A non-judicial foreclosure sale therefore would only be conducted in violation of state

       4          and federal law, and any sale would be void ab initio and pursuant to the Government
       5          Save Your Home Programs, the Consent Orders and the Independent Foreclosure
       6
                  Review, Plaintiff is entitled to compensatory damages of the fair market value of the
       7
                  property and treble damages for exemplary damages in the event of default.
       8
           158.   Moreover, the Defendant never had legal authority to foreclose because the instrument
       9
      10          (Deed of Trust), which permitted foreclosure if the borrower was in default, is void as

      11          it was improperly assigned and/or transferred to the Defendants through forged and

      12          improperly notarized and unauthorized executed documents.
      13
           159.   Therefore, the Deed of Trust could not provide a basis for a foreclosure, and the non-
      14
                  judicial foreclosure would be fraudulent and void ab initio.
      15
           160.   The Plaintiff was the victim of the scheme created by the Defendant trust to award the
      16
                  servicer for imposing fraudulent charges, fraudulent inspection fees, and putting him
      17

      18          through the fraudulent foreclosure.

      19   161.   Accordingly, Plaintiff hereby is entitled to a declaration that the Trustee was not
      20          authorized to act; there was no valid Trustee, the Trustee was barred from ever
      21
                  scheduling or, in the event a sale is not stayed, never had authority to hold a Sale and
      22
                  find that any sale that occurs thereunder is fraudulent and therefore void ab initio.
      23
           162.   Wherefore the Plaintiff Prays For Relief As Set Forth Below.
      24

      25                           FOURTH CAUSE OF ACTION
                                     DECLARATORY RELIEF
      26           TO VOID OR CANCEL SUBSTITUTION OF TRUSTEE AND NOTICE OF
                                          DEFAULTS
      27                          (AGAINST ALL DEFENDANTS)
      28

                                             PLAINTIFF’S COMPLAINT
                                                       28
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           163.   Plaintiff incorporates herein by reference the allegations made in paragraphs 1 through
       1

       2          162, inclusive, as though fully set forth herein.

       3   164.   Ordinarily a suit to set aside and cancel a void instrument is governed by Sec. 343 of

       4          the [California] Code of Civil Procedure." Zakaessian v. Zakaessian, 70 Cal. App. 2d
       5          721, 725 (1945).
       6
           165.   Section 343 of the California Code of Civil Procedure requires a plaintiff to bring suit
       7
                  within four years from the date the cause of action accrues (October 31st, 2016 as
       8
                  evidenced by EXHIBIT 23 is an admission of fraud and a Notice of Rescission of
       9
      10          Notice of Default and Election to Sell Under Deed of Trust, and recorded in the official

      11          records of Los Angeles County, California 20161343577 on October 31st, 2016.).

      12   166.   The Substitution of Trustee and all Notice of Defaults are therefore invalid, void ab
      13
                  initio, and of no force and effect, for the reasons set forth above.
      14
           167.   The Defendant did not have the legal authority to foreclose, i.e., the authority to
      15
                  exercise the power of sale as an assignee of Deed of Trust, because the Foreclosing
      16
                  Defendants’ interest was never acknowledged and recorded in violation of 12 U.S.C.
      17

      18          Section 2605(k), which requires that loan servicers comply with regulations passed by

      19          the Bureau of Consumer Financial Protection, and 12 C.F.R. Section 1024.40(b),
      20          which requires that servicers maintain policies and procedures to ensure they can
      21
                  provide borrowers with accurate information regarding loan modification applications.
      22
           168.   What’s more, is that violation of the statute is codified in California Evidence Code
      23
                  Section 669. Hutchins v. Nationstar Mortg. LLC, No. 16-cv-7067-PJH, 2017 WL
      24

      25          2021363, *3 (N.D. Cal. May 12, 2017).

      26   169.   Section 669 establishes a presumption of negligence if (1) a person has violated a

      27          statute or regulation, (2) the violation harmed a person or property, (3) the injury is of
      28

                                             PLAINTIFF’S COMPLAINT
                                                       29
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                  the sort the statute or regulation was intended to prevent, and (4) the person harmed
       1

       2          belonged to the class of persons the statute or regulation was designed to protect. Cal.

       3          Evid. Code § 669.

       4   170.   The presumption of negligence created by Section 669, however, "concerns the
       5          standard of care, rather than the duty of care." Rice v. Center Point, Inc., 154 Cal. App.
       6
                  4th 949, 958 (2007) (quoting Rosales v. City of Los Angeles, 82 Cal. App. 4th 419,
       7
                  430 (2000)) and Defendant as a trustee has fallen below the standard of care, as it
       8
                  knows, or reasonably should have known, that it was not validly appointed and was
       9
      10          seeking to enforce a void deed of trust by means of a non-judicial sale; and knows or

      11          reasonably should have known, that it was not validly appointed, as the appointment

      12          came from the entity holding the void deed of trust.
      13
           171.   The Defendant is also guilty of violating federal statutes which prohibit the use of mail
      14
                  and wire to transmit false documents.
      15
           172.   Here, the documents which were mailed include the monthly statements demanding
      16
                  payment that have been generated; and the recorded substitution of a trustee after the
      17

      18          subject mortgage was voided by being securitized into a closed trust and after it was

      19          separated from the note.
      20   173.   The other statutes upon which this claim is based includes 15 U.S.C. § 1692 ET. SEQ.;
      21
                  MAIL AND WIRE FRAUD 18 U.S.C., SECTIONS 1341, 1343; BANK FRAUD 18
      22
                  U.S.C. 1341, 1344; 18 U.S.C. § 1001; 18 U.S.C. § 1005; 12 C.F.R. §202.16, among
      23
                  other California Criminal and Civil Codes as incorporated herein.
      24

      25   174.   A non-judicial foreclosure sale therefore would only be conducted in violation of state

      26          and federal law, and any sale would be void ab initio and pursuant to the Government

      27          Save Your Home Programs, the Consent Orders and the Independent Foreclosure
      28

                                             PLAINTIFF’S COMPLAINT
                                                       30
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                  Review, Plaintiff is entitled to compensatory damages of the fair market value of the
       1

       2          property and treble damages for exemplary damages in the event of default.

       3   175.   Moreover, the Defendant never had legal authority to foreclose because the instrument

       4          (Deed of Trust), which permitted foreclosure if the borrower was in default, is void as
       5          it was improperly assigned and/or transferred to the Defendants through forged and
       6
                  improperly notarized and unauthorized executed documents.
       7
           176.   Therefore, the Deed of Trust could not provide a basis for a foreclosure, and the non-
       8
                  judicial foreclosure would be fraudulent and void ab initio.
       9
      10   177.   The Plaintiff was the victim of the scheme created by the Defendant trust to award the

      11          servicer for imposing fraudulent charges, fraudulent inspection fees, and putting him

      12          through the fraudulent foreclosure.
      13
           178.   Accordingly, Plaintiff hereby is entitled to a declaration that the Exhibit 2-33 be
      14
                  stricken, the Deed of Trust be deemed void ab initio and cancelling such Deed, if the
      15
                  court finds that there was not a bona fide purchaser for value, then quieting title in
      16
                  favor of the Plaintiff, but in the event there was a bona fide purchaser for value, the
      17

      18          court instead award the Plaintiff one million dollars for compensatory damages and

      19          three times that amount for exemplary damages.
      20   179.   Wherefore Plaintiff Prays for Relief as Set Forth Below.
      21
                                       FIFTH CAUSE OF ACTION FOR
      22                                 BREACH OF CONTRACT1
                                 (AGAINST THE FORECLOSING DEFENDANTS)
      23
           180.   Plaintiff incorporates herein by reference the allegations made in paragraphs 1 through
      24

      25          179, inclusive, as though fully set forth herein.

      26   181.   A mortgage is a contract pursuant to California Civil Code section 2920(a).

      27   182.   The breach occurred EXHIBIT 23 is an admission of fraud and a Notice of Rescission
      28

                                             PLAINTIFF’S COMPLAINT
                                                       31
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                  of Notice of Default and Election to Sell Under Deed of Trust, and recorded in the
       1

       2          official records of Los Angeles County, California 20161343577 on October 31st,

       3          2016 when the he Defendant did not have the legal authority to foreclose, i.e., the

       4          authority to exercise the power of sale as an assignee of Deed of Trust, because the
       5          Foreclosing Defendants’ interest was never acknowledged and recorded in violation
       6
                  of 12 U.S.C. Section 2605(k), which requires that loan servicers comply with
       7
                  regulations passed by the Bureau of Consumer Financial Protection, and 12 C.F.R.
       8
                  Section 1024.40(b), which requires that servicers maintain policies and procedures to
       9
      10          ensure they can provide borrowers with accurate information regarding loan

      11          modification applications.

      12   183.   What’s more, the breach occurred as a result of the violation of the statute that is
      13
                  codified in California Evidence Code Section 669. Hutchins v. Nationstar Mortg. LLC,
      14
                  No. 16-cv-7067-PJH, 2017 WL 2021363, *3 (N.D. Cal. May 12, 2017).
      15
           184.   The breach also occurred when the Defendant as a trustee has fallen below the standard
      16
                  of care, as it knows, or reasonably should have known, that it was not validly appointed
      17

      18          and was seeking to enforce a void deed of trust by means of a non-judicial sale; and

      19          knows or reasonably should have known, that it was not validly appointed, as the
      20          appointment came from the entity holding the void deed of trust.
      21
           185.   The Defendant is also guilty of violating federal statutes which prohibit the use of mail
      22
                  and wire to transmit false documents.
      23
           186.   The breach also occurred when the Defendant securitized the note into a closed trust,
      24

      25          and in so doing, voided the mortgage.

      26   187.   That the breach also occurred when the Defendant separated the note from the

      27          mortgage, voiding the mortgage.
      28

                                             PLAINTIFF’S COMPLAINT
                                                       32
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           188.   Here, the documents which were mailed include the monthly statements demanding
       1

       2          payment that have been generated; and the recorded substitution of a trustee after the

       3          subject mortgage was voided by being securitized into a closed trust and after it was

       4          separated from the note.
       5   189.   The other statutes upon which this claim is based includes 15 U.S.C. § 1692 ET. SEQ.;
       6
                  MAIL AND WIRE FRAUD 18 U.S.C., SECTIONS 1341, 1343; BANK FRAUD 18
       7
                  U.S.C. 1341, 1344; 18 U.S.C. § 1001; 18 U.S.C. § 1005; 12 C.F.R. §202.16, among
       8
                  other California Criminal and Civil Codes as incorporated herein.
       9
      10   190.   A non-judicial foreclosure sale therefore would only be conducted in violation of state

      11          and federal law, and any sale would be void ab initio and pursuant to the Government

      12          Save Your Home Programs, the Consent Orders and the Independent Foreclosure
      13
                  Review, Plaintiff is entitled to compensatory damages of the fair market value of the
      14
                  property and treble damages for exemplary damages in the event of default.
      15
           191.   Moreover, the Defendant never had legal authority to foreclose because the instrument
      16
                  (Deed of Trust), which permitted foreclosure if the borrower was in default, is void as
      17

      18          it was improperly assigned and/or transferred to the Defendants through forged and

      19          improperly notarized and unauthorized executed documents.
      20   192.   Therefore, the Deed of Trust could not provide a basis for a foreclosure, and the non-
      21
                  judicial foreclosure would be fraudulent and void ab initio.
      22
           193.   The Plaintiff was the victim of the scheme created by the Defendant trust to award the
      23
                  servicer for imposing fraudulent charges, fraudulent inspection fees, and putting him
      24

      25          through the fraudulent foreclosure.

      26   194.   As an actual and proximate cause of the foregoing, the mortgage which is used to

      27          secure the property is breached by the Defendants, and each of their, conduct
      28

                                             PLAINTIFF’S COMPLAINT
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                  complained of herein and Plaintiff has suffered monetary damages, in addition to legal
       1

       2          fees, the Plaintiff has suffered loss of equity in the property; slander of title devaluing

       3          the property; harm to her credit; harm to her ability to market and or sell the property;

       4          emotional distress, and irreparable harm to the permanent value of the property, having
       5          the slander of a foreclosure on the record of the property, forever devaluing its worth,
       6
                  unless and until the slanderous documents are removed.
       7
           195.   That as an actual and proximate cause of said breach, the Plaintiff suffered damages in
       8
                  an amount according to proof or three million dollars, and exemplary damages of nine
       9
      10          million dollars in the event of default;

      11   196.   That as an actual and proximate cause of said breach, the Plaintiff is entitled to

      12          declaratory relief finding that the Mortgage (security instrument) has been breached
      13
                  by the Defendants, and each of them, and are thus void ab initio on the basis of fraud
      14
                  and thus an order should issue finding the mortgage contract deemed void and no
      15
                  longer enforceable.
      16
           197.   Therefore, the Defendants were bound to act in accordance with California law when
      17

      18          initiating and consummating the foreclosure sale of the Subject Property.

      19   198.   Specifically, the Defendants were bound to obey and conform their actions to
      20          California Civil Code Section 2934, which they clearly have not done in the instant
      21
                  case.
      22
           199.   As a direct and proximate cause of Defendants' breach of contract, Plaintiff has
      23
                  suffered damages in an amount to be proven at trial, but in the event of default, one
      24

      25          million dollars in compensatory damages and three million dollars for exemplary

      26          damages.

      27   200.   Wherefore Plaintiff prays for relief as set forth below:
      28

                                             PLAINTIFF’S COMPLAINT
                                                       34
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                                  SIXTH CAUSE OF ACTION FOR
       1                         DECLARATORY RELIEF UNDER
       2          CALIFORNIA BUSINESS AND PROFESSIONS CODE SECTIONS 17200 ET
                                            SEQ.
       3                          (AGAINST ALL DEFENDANTS)

       4   201.   Plaintiff incorporates herein by reference the allegations made in paragraphs 1 through
       5          200, inclusive, as though fully set forth herein.
       6
           202.   California’s Unfair Competition Statute, California Business & Professions Code
       7
                  Section 17200, et seq., prohibits acts of unfair competition, which means and includes
       8
                  any “fraudulent business act or practice . . .” and conduct which is “likely to deceive”
       9
      10          and is “fraudulent” within the meaning of Section 17200.

      11   203.   Plaintiff securitized the mortgage into WASHINGTON MUTUAL MORTGAGE

      12          PASS-THROUGH CERTIFICATES WMALT SERIES 2007-0C1 a “closed trust”.
      13
           204.   Said trust was the Defendant in a “WASHINGTON MUTUAL MORTGAGE PASS-
      14
                  THROUGH CERTIFICATES WMALT SERIES 2007-0C1 This is a class action
      15
                  brought by the Doral Bank Puerto Rico ("Doral" or "Plaintiff") alleging violations of
      16
                  Sections 11, 12 and 15 of the Securities Act of 1933, 15 U.S.C. 20 § 77a, et seq., as
      17

      18          well as causes of action arising under and pursuant the Washington State Securities

      19          Act ("WSSA"), RCW 21.20.010 and 21.20.430(1) and (3), and Washington State Law,
      20          on behalf of purchasers of Washington Mutual Mortgage Pass-Through Certificates
      21
                  Series WAMU 2007-0A4, WAMU 2007-0A5, WAMU 2007-0A6, WMALT 2007-
      22
                  0A4, WMALT 2007-0A5, WMALT 2007-0C1, WMALT 2007-0C2, WMALT 2007-
      23
                  3, WMALT 2006-4 and WMALT 2006-5 (the "Certificates" or the "WaMu
      24

      25          Certificates") who purchased the Certificates in public offerings (the "Offerings," see

      26          19, infra), backed by pools first lien single-family residential mortgage loans whose

      27          interest rates (after an initial fixed-rate period) adjust monthly and which include a
      28

                                             PLAINTIFF’S COMPLAINT
                                                       35
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                  negative amortization feature.
       1

       2   205.   Following the issuance of the Certificates, disclosures began to emerge revealing the

       3          routine disregard for the Guidelines in mortgage loan origination of the collateral

       4          underlying the Certificates. These disclosures were confirmed by substantially higher
       5          rates of delinquencies and foreclosures on collateral for such highly-rated debt issues.
       6
                  Plaintiff purchased certain WaMu Certificates pursuant to the Registration Statement.
       7
                  However, as of the date the within action was commenced, Plaintiff's investment
       8
                  suffered a significant loss. The claims asserted herein under the Securities Act do not
       9
      10          sound in or arise from allegations of fraud.

      11   206.   Said class action resulted in the Lenders by and through the lead plaintiffs and

      12          defendants in a securities class action lawsuit against two subsidiaries of Washington
      13
                  Mutual Bank and certain of its officers and directors have agreed to a $26 million
      14
                  settlement on claims that the defendants misrepresented the investment quality of
      15
                  certain mortgage-backed securities in violation of federal securities law, according to
      16
                  court documents filed in Washington federal court on Sept. 4 (in re Washington Mutual
      17

      18          Mortgage-Backed Securities Litigation, No. 09-0037, W.D. Wash.). (Settlement

      19          memorandum available. Document #57-120910-099B.)
      20   207.   According to the settlement memorandum, which was filed in the U.S. District Court
      21
                  for the Western District of Washington by lead plaintiffs Doral Bank of Puerto Rico,
      22
                  Policeman's Annuity Benefit Fund of the City of Chicago and Boilermakers National
      23
                  Annuity Trust, defendants WaMu Asset Acceptance Corp., WaMu Capital Corp.,
      24

      25          David Beck, Diane Novak, Rolland Jurgens and Richard Carreaga have agreed to the

      26          settlement in exchange for dismissal of claims brought against them for violation of

      27          Sections 11, 12 and 15 of the Securities Act of 1933.
      28

                                            PLAINTIFF’S COMPLAINT
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           208.   That there were other similar lawsuits benefitting the LENDERS, who were the
       1

       2          Plaintiffs in the class action, who recovered $69 million dollars (WaMu Mortgage

       3          Pass-Through Certificates Series 2006/Series 2007 Shareholder Class Action Lawsuit

       4          04/11/2012) U.S. District Court for the Southern District of New York settled on
       5          11/10/2014 Settlement Amount: $69,000,000 and no money was credited on the
       6
                  Plaintiff’s account, even though the Defendant Lender received $69 million dollars
       7
                  from this settlement. Deadline to Participate in Settlement: 04/20/2015
       8
           209.   That $69 million and $26 million were given to the Defendants, but none of the funds
       9
      10          recovered were ever credited to the Plaintiffs account, resulting in a double recovery

      11          for the Defendants and irreparable and financial harm to the Plaintiff in the sum

      12          equivalent to the $95 million dollars that was never credited to the Plaintiff.
      13
           210.   Defendants have been paid in full, and yet collected money from the Plaintiff that was
      14
                  never owed, and continue to slander the Plaintiff’s title on a mortgage that is void and
      15
                  already satisfied.
      16
           211.   Defendants’ actions herein in violating California Civil Code Section 2934 by making
      17

      18          misrepresentations to the State of California are also business practices that are

      19          unlawful, unfair, and/or fraudulent under California Business & Professions Code
      20          Section 17200; by recording assignments of mortgage, and the having the entity who
      21
                  was not the assignee substitute trustees, double collecting and never reporting the funds
      22
                  recovered against the Plaintiff’s already void mortgage.
      23
           212.   The above-described unfair practices injured Plaintiff in an amount which will be
      24

      25          proven at the time of trial but in the event of default, three million dollars compensatory

      26          damages and twelve million dollars exemplary damages for the willful misconduct.

      27   213.   Plaintiff is informed and believes and therefore alleges that the Defendants performed
      28

                                             PLAINTIFF’S COMPLAINT
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                  the above mentioned acts for the purpose of injuring plaintiff and facilitating Plaintiff
       1

       2          losing her home to foreclosure.

       3   214.   As an actual and proximate cause of the foregoing, the Plaintiff is entitled to

       4          compensatory damages according to proof, and exemplary damages according to
       5          proof, or three million dollars compensatory damages and nine million dollars
       6
                  exemplary damages in the event of default as a result of the civil conspiracy, and unfair
       7
                  trade business practices.
       8
           215.   Wherefore Plaintiff prays for relief as set forth below.
       9
      10                                 SEVENTH CAUSE OF ACTION FOR
                                           WRONGFUL FORECLOSURE
      11                                    (AS TO ALL DEFENDANTS)
      12   216.   Plaintiff incorporates herein by reference the allegations made in paragraphs 1 through
      13
                  217, inclusive, as though fully set forth herein.
      14
           217.   California’s Unfair Competition Statute, California Business & Professions Code
      15
                  Section 17200, et seq., prohibits acts of unfair competition, which means and includes
      16
                  any “fraudulent business act or practice . . .” and conduct which is “likely to deceive”
      17

      18          and is “fraudulent” within the meaning of Section 17200.

      19   218.   Plaintiff securitized the mortgage into WASHINGTON MUTUAL MORTGAGE
      20          PASS-THROUGH CERTIFICATES WMALT SERIES 2007-0C1 a “closed trust”.
      21
           219.   Said trust was the Defendant in a “WASHINGTON MUTUAL MORTGAGE PASS-
      22
                  THROUGH CERTIFICATES WMALT SERIES 2007-0C1 This is a class action
      23
                  brought by the Doral Bank Puerto Rico ("Doral" or "Plaintiff") alleging violations of
      24

      25          Sections 11, 12 and 15 of the Securities Act of 1933, 15 U.S.C. 20 § 77a, et seq., as

      26          well as causes of action arising under and pursuant the Washington State Securities

      27          Act ("WSSA"), RCW 21.20.010 and 21.20.430(1) and (3), and Washington State Law,
      28

                                              PLAINTIFF’S COMPLAINT
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                  on behalf of purchasers of Washington Mutual Mortgage Pass-Through Certificates
       1

       2          Series WAMU 2007-0A4, WAMU 2007-0A5, WAMU 2007-0A6, WMALT 2007-

       3          0A4, WMALT 2007-0A5, WMALT 2007-0C1, WMALT 2007-0C2, WMALT 2007-

       4          3, WMALT 2006-4 and WMALT 2006-5 (the "Certificates" or the "WaMu
       5          Certificates") who purchased the Certificates in public offerings (the "Offerings," see
       6
                  19, infra), backed by pools first lien single-family residential mortgage loans whose
       7
                  interest rates (after an initial fixed-rate period) adjust monthly and which include a
       8
                  negative amortization feature.
       9
      10   220.   Following the issuance of the Certificates, disclosures began to emerge revealing the

      11          routine disregard for the Guidelines in mortgage loan origination of the collateral

      12          underlying the Certificates. These disclosures were confirmed by substantially higher
      13
                  rates of delinquencies and foreclosures on collateral for such highly-rated debt issues.
      14
                  Plaintiff purchased certain WaMu Certificates pursuant to the Registration Statement.
      15
                  However, as of the date the within action was commenced, Plaintiff's investment
      16
                  suffered a significant loss. The claims asserted herein under the Securities Act do not
      17

      18          sound in or arise from allegations of fraud.

      19   221.   Said class action resulted in the Lenders by and through the lead plaintiffs and
      20          defendants in a securities class action lawsuit against two subsidiaries of Washington
      21
                  Mutual Bank and certain of its officers and directors have agreed to a $26 million
      22
                  settlement on claims that the defendants misrepresented the investment quality of
      23
                  certain mortgage-backed securities in violation of federal securities law, according to
      24

      25          court documents filed in Washington federal court on Sept. 4 (in re Washington Mutual

      26          Mortgage-Backed Securities Litigation, No. 09-0037, W.D. Wash.). (Settlement

      27          memorandum available. Document #57-120910-099B.)
      28

                                            PLAINTIFF’S COMPLAINT
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           222.   According to the settlement memorandum, which was filed in the U.S. District Court
       1

       2          for the Western District of Washington by lead plaintiffs Doral Bank of Puerto Rico,

       3          Policeman's Annuity Benefit Fund of the City of Chicago and Boilermakers National

       4          Annuity Trust, defendants WaMu Asset Acceptance Corp., WaMu Capital Corp.,
       5          David Beck, Diane Novak, Rolland Jurgens and Richard Carreaga have agreed to the
       6
                  settlement in exchange for dismissal of claims brought against them for violation of
       7
                  Sections 11, 12 and 15 of the Securities Act of 1933.
       8
           223.   That there were other similar lawsuits benefitting the LENDERS, who were the
       9
      10          Plaintiffs in the class action, who recovered $69 million dollars (WaMu Mortgage

      11          Pass-Through Certificates Series 2006/Series 2007 Shareholder Class Action Lawsuit

      12          04/11/2012) U.S. District Court for the Southern District of New York settled on
      13
                  11/10/2014 Settlement Amount: $69,000,000 and no money was credited on the
      14
                  Plaintiff’s account, even though the Defendant Lender received $69 million dollars
      15
                  from this settlement. Deadline to Participate in Settlement: 04/20/2015
      16
           224.   That $69 million and $26 million were given to the Defendants, but none of the funds
      17

      18          recovered were ever credited to the Plaintiffs account, resulting in a double recovery

      19          for the Defendants and irreparable and financial harm to the Plaintiff in the sum
      20          equivalent to the $95 million dollars that was never credited to the Plaintiff.
      21
           225.   Defendants have been paid in full, and yet collected money from the Plaintiff that was
      22
                  never owed, and continue to slander the Plaintiff’s title on a mortgage that is void and
      23
                  already satisfied.
      24

      25   226.   Defendants’ actions herein in violating California Civil Code Section 2934 by making

      26          misrepresentations to the State of California are also business practices that are

      27          unlawful, unfair, and/or fraudulent under California Business & Professions Code
      28

                                             PLAINTIFF’S COMPLAINT
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                  Section 17200; by recording assignments of mortgage, and the having the entity who
       1

       2          was not the assignee substitute trustees, double collecting and never reporting the funds

       3          recovered against the Plaintiff’s already void mortgage.

       4   227.   The above-described unfair practices injured Plaintiff in an amount which will be
       5          proven at the time of trial but in the event of default, three million dollars compensatory
       6
                  damages and twelve million dollars exemplary damages for the willful misconduct.
       7
           228.   Plaintiff is informed and believes and therefore alleges that the Defendants performed
       8
                  the above mentioned acts for the purpose of injuring plaintiff and facilitating Plaintiff
       9
      10          losing her home to foreclosure.

      11   229.   Plaintiff is the equitable owner of the Subject Property (the legal description which has

      12          been provided herein), which has the following legal description:
      13
           230.   Plaintiff seeks to wrongful foreclosure damages against the claims of Defendants and
      14
                  each of them in the event the property is sold at foreclosure sale.
      15
           231.   The Plaintiff has suffered economic and non-economic damages in an amount in
      16
                  excess of any sums purportedly owed to the Defendant; and because of the criminal
      17

      18          conduct of the Defendants, and each of them; and the breach of the agreements and

      19          breach of fiduciary duty owed the Plaintiff, the beneficiary has been paid in full.
      20   232.   Defendants’ claims were adverse to Plaintiff because Plaintiff is informed or believes
      21
                  that none of the defendants is a holder of the mortgage loan note, none of them can
      22
                  prove any interest in the mortgage loan note and none of them can prove that the
      23
                  mortgage loan note is secured by the Deed of Trust.
      24

      25   233.   As such, Defendants had no right, title, lien or interest in the Subject Property when

      26          they foreclosed.

      27   234.   Plaintiff seeks a judicial declaration that the title to the Subject Property at the time of
      28

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                  the foreclosure was vested in Plaintiff alone and that the Title Defendants and each of
       1

       2          them be had no interest estate, right, title or interest in the subject property and that the

       3          Title Defendants, their agents and assigns, be forever enjoined from asserting any

       4          estate, right title or interest in the Subject Property subject to Plaintiff’s rights; that all
       5          the recorded documents, exhibits 2-33 were void ab initio and an order is made striking
       6
                  them from the official records of this county as a fraud upon the people, fraud upon
       7
                  the Plaintiff and a fraud upon the court.
       8
                                      EIGHTH CAUSE OF ACTION
       9
                                     NINTH CAUSE OF ACTION FOR
      10                                 CIVIL CONSPIRACY
                        (AS TO WASHINGTON MUTUAL MORTGAGE PASS-THROUGH
      11                         CERTIFICATES WMALT SERIES 2007-0C1
      12      235.        Plaintiffs incorporate paragraphs 1 to 234, inclusive, herein, as though set forth
      13
                  herein in full.
      14
              236.        An agreement between two or more parties existed, including the defendant
      15
                  WASHINGTON MUTUAL MORTGAGE PASS-THROUGH CERTIFICATES
      16
                  WMALT SERIES 2007-0C1, its agents, employees and investors, and each of them,
      17

      18          and others;

      19   237.   California’s Unfair Competition Statute, California Business & Professions Code
      20          Section 17200, et seq., prohibits acts of unfair competition, which means and includes
      21
                  any “fraudulent business act or practice . . .” and conduct which is “likely to deceive”
      22
                  and is “fraudulent” within the meaning of Section 17200.
      23
           238.   Plaintiff securitized the mortgage into WASHINGTON MUTUAL MORTGAGE
      24

      25          PASS-THROUGH CERTIFICATES WMALT SERIES 2007-0C1 a “closed trust”.

      26   239.   Said trust was the Defendant in a “WASHINGTON MUTUAL MORTGAGE PASS-

      27          THROUGH CERTIFICATES WMALT SERIES 2007-0C1 This is a class action
      28

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                  brought by the Doral Bank Puerto Rico ("Doral" or "Plaintiff") alleging violations of
       1

       2          Sections 11, 12 and 15 of the Securities Act of 1933, 15 U.S.C. 20 § 77a, et seq., as

       3          well as causes of action arising under and pursuant the Washington State Securities

       4          Act ("WSSA"), RCW 21.20.010 and 21.20.430(1) and (3), and Washington State Law,
       5          on behalf of purchasers of Washington Mutual Mortgage Pass-Through Certificates
       6
                  Series WAMU 2007-0A4, WAMU 2007-0A5, WAMU 2007-0A6, WMALT 2007-
       7
                  0A4, WMALT 2007-0A5, WMALT 2007-0C1, WMALT 2007-0C2, WMALT 2007-
       8
                  3, WMALT 2006-4 and WMALT 2006-5 (the "Certificates" or the "WaMu
       9
      10          Certificates") who purchased the Certificates in public offerings (the "Offerings," see

      11          19, infra), backed by pools first lien single-family residential mortgage loans whose

      12          interest rates (after an initial fixed-rate period) adjust monthly and which include a
      13
                  negative amortization feature.
      14
           240.   Following the issuance of the Certificates, disclosures began to emerge revealing the
      15
                  routine disregard for the Guidelines in mortgage loan origination of the collateral
      16
                  underlying the Certificates. These disclosures were confirmed by substantially higher
      17

      18          rates of delinquencies and foreclosures on collateral for such highly-rated debt issues.

      19          Plaintiff purchased certain WaMu Certificates pursuant to the Registration Statement.
      20          However, as of the date the within action was commenced, Plaintiff's investment
      21
                  suffered a significant loss. The claims asserted herein under the Securities Act do not
      22
                  sound in or arise from allegations of fraud.
      23
           241.   Said class action resulted in the Lenders by and through the lead plaintiffs and
      24

      25          defendants in a securities class action lawsuit against two subsidiaries of Washington

      26          Mutual Bank and certain of its officers and directors have agreed to a $26 million

      27          settlement on claims that the defendants misrepresented the investment quality of
      28

                                            PLAINTIFF’S COMPLAINT
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                  certain mortgage-backed securities in violation of federal securities law, according to
       1

       2          court documents filed in Washington federal court on Sept. 4 (in re Washington Mutual

       3          Mortgage-Backed Securities Litigation, No. 09-0037, W.D. Wash.). (Settlement

       4          memorandum available. Document #57-120910-099B.)
       5   242.   According to the settlement memorandum, which was filed in the U.S. District Court
       6
                  for the Western District of Washington by lead plaintiffs Doral Bank of Puerto Rico,
       7
                  Policeman's Annuity Benefit Fund of the City of Chicago and Boilermakers National
       8
                  Annuity Trust, defendants WaMu Asset Acceptance Corp., WaMu Capital Corp.,
       9
      10          David Beck, Diane Novak, Rolland Jurgens and Richard Carreaga have agreed to the

      11          settlement in exchange for dismissal of claims brought against them for violation of

      12          Sections 11, 12 and 15 of the Securities Act of 1933.
      13
           243.   That there were other similar lawsuits benefitting the LENDERS, who were the
      14
                  Plaintiffs in the class action, who recovered $69 million dollars (WaMu Mortgage
      15
                  Pass-Through Certificates Series 2006/Series 2007 Shareholder Class Action Lawsuit
      16
                  04/11/2012) U.S. District Court for the Southern District of New York settled on
      17

      18          11/10/2014 Settlement Amount: $69,000,000 and no money was credited on the

      19          Plaintiff’s account, even though the Defendant Lender received $69 million dollars
      20          from this settlement. Deadline to Participate in Settlement: 04/20/2015
      21
           244.   That $69 million and $26 million were given to the Defendants, but none of the funds
      22
                  recovered were ever credited to the Plaintiffs account, resulting in a double recovery
      23
                  for the Defendants and irreparable and financial harm to the Plaintiff in the sum
      24

      25          equivalent to the $95 million dollars that was never credited to the Plaintiff.

      26   245.   Defendants have been paid in full, and yet collected money from the Plaintiff that was

      27          never owed, and continue to slander the Plaintiff’s title on a mortgage that is void and
      28

                                             PLAINTIFF’S COMPLAINT
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                                         #:987


                  already satisfied.
       1

       2   246.   Defendants’ actions herein in violating California Civil Code Section 2934 by making

       3          misrepresentations to the State of California are also business practices that are

       4          unlawful, unfair, and/or fraudulent under California Business & Professions Code
       5          Section 17200; by recording assignments of mortgage, and the having the entity who
       6
                  was not the assignee substitute trustees, double collecting and never reporting the funds
       7
                  recovered against the Plaintiff’s already void mortgage.
       8
           247.   The above-described unfair practices injured Plaintiff in an amount which will be
       9
      10          proven at the time of trial but in the event of default, three million dollars compensatory

      11          damages and twelve million dollars exemplary damages for the willful misconduct.

      12   248.   Plaintiff is informed and believes and therefore alleges that the Defendants performed
      13
                  the above mentioned acts for the purpose of injuring plaintiff and facilitating Plaintiff
      14
                  losing her home to foreclosure.
      15
           249.   As alleged herein, the individuals agreed to perform an unlawful act, including, but not
      16
                  limited to those acts incorporated herein, or to do a lawful act by unlawful means, also
      17

      18          as incorporated herein;

      19   250.   The fraudulent preparation and recording of the forged documents, Exhibits 2-33; the
      20          violations of the numerous statutes; the mail fraud; the wire fraud; the bank fraud, and
      21
                  all acts incorporated herein, all constitute the doing of some overt act in pursuance of
      22
                  the conspiracy; and
      23
           251.   As an actual and proximate cause of the conspiracy, Plaintiff suffered actual economic
      24

      25          and non-economic damages under the conspiracy as prayed below.

      26   252.   Wherefore Plaintiff prays for damages as set forth below:

      27

      28

                                             PLAINTIFF’S COMPLAINT
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                                                 PRAYER FOR RELIEF
       1

       2   253.   Wherefore, Plaintiff prays for judgment against the Defendants and each of them,

       3          jointly and severally, as follows:

       4   254.   For a declaration of the rights and duties of the parties, specifically that the assignment
       5          of Deed of Trust on Plaintiff’s residence was wrongful.
       6
           255.   For compensatory damages according to proof, but in the event of default, three million
       7
                  dollars;
       8
           256.   For exemplary and punitive damages in an amount according to proof, but in the event
       9
      10          of default, nine million dollars.

      11   257.   For issuance of a judicial decree finding that the Trustee’s Sale, if one occurs, is and

      12          was void and that Plaintiff is entitled to compensatory damages (three million in the
      13
                  event of default) and punitive damages (nine million in the event of default.
      14
           258.   To void and vacate the Trustee’s Deed, if any there be.
      15
           259.   To vacate and set aside the fraudulent foreclosure, if any there be.
      16
           260.   To Quiet title in favor of the Plaintiff and against all Defendants and all others who
      17

      18          claim to have an interest of any kind, in fee simple absolute, in the subject property:

      19          THE LAND REFERRED TO HEREIN IS SITUATED IN THE STATE OF
      20          CALIFORNIA, COUNTY OF LOS ANGELES, DESCRIBED AS FOLLOWS
      21
                  LOT 297, OF TRACT NO. 7668, IN THE CITY OF LOS ANGELES, COUNTY OF
      22
                  LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK
      23
                  83 PAGE(S) 1 TO 3 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY
      24

      25          RECORDER OF SAID COUNTY

      26          A.P.N.: 4214-013-008. See Exhibits 1-2

      27   261.   To find in favor of Plaintiff and against all Defendants and to find that the foreclosure
      28

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               against the Plaintiff was void, fraudulent, and recorded in violation of statute, State
       1

       2       and Federal law and vacate the following documents:

       3       EXHIBIT 3 – DEED OF TRUST, RECORDED IN THE OFFICIAL RECORDS OF
               THE COUNTY OF LOS ANGELES, DOCUMENT NUMBER XX-XXXXXXX ON
       4
               SEPTEMBER 9TH, 2004.
       5
               EXHIBIT 4 - is a Golden West Reconveyance, Document Number XX-XXXXXXX.
       6

       7       EXHIBIT 5 – DEED OF TRUST AND REQUEST FOR NOTICE OF DEFAULT
               recorded in the official records of Los Angeles County, Document XX-XXXXXXX on
       8       July 6th, 2005.
       9
               EXHIBIT 6 is a Deed of Reconveyance recorded in the official records of Los
      10       Angeles County on December 30th, 2005, Record number XX-XXXXXXX.
      11
               EXHIBIT 7 is a deed of trust in favor of Mortgageit recorded in the official records
      12       of Los Angeles County on December 7th, 2005, record number XX-XXXXXXX.
      13
               Exhibit 8 is the Mers Substitution of Trustee and Full Reconveyance, and is recorded
      14       in the official records of the Recorders office in Los Angeles County, California,
      15       Document 20070236103, on February 5th, 2007.

      16       Exhibit 9 is the Mortgage Store Financial, Inc., Deed of Trust, and is recorded in the
      17       official records of the Recorders office in Los Angeles County, California, Document
               XX-XXXXXXX, on December 21st, 2006.
      18

      19       Exhibit 10 is an Assignment of Deed of Trust created and by California
               Reconveyance Company to Bank of America, NA as successor by merger to LaSalle
      20       Bank, NA as trustee for Washington Mutual Mortgage Pass-Through Certificates
      21       WMALT Series 2007-0C1 Trust in the 12/01/2006.

      22       EXHIBIT 11 is a Substitution of Trustee and is recorded in the official records of the
      23       Recorders office in Los Angeles County, California, Document 20070236103, on
               February 5th, 2007.
      24

      25       EXHIBIT 12 is a fraudulent notice of default, and is recorded in the official records
               of the Recorders office in Los Angeles County, California, Document 20091620620,
      26       on October 27th, 2009 recorded by the convicted California Reconveyance
      27       Company.

      28

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               Exhibit 13 is a Notice of Trustee’s Sale and is recorded in the official records of the
       1
               Recorders office in Los Angeles County, California, Document 20100136998, on
       2       January 29th, 2010 recorded by the convicted California Reconveyance Company.

       3
               Exhibit 14 is a Substitution of Trustee and Full Reconveyance, and is recorded in the
       4       official records of the Recorders office in Los Angeles County, California, Document
               20101819203, on December 9th, 2010.
       5

       6       Exhibit 15 is a Substitution of Trustee and Full Reconveyance, and is recorded in the
               official records of the Recorders office in Los Angeles County, California, Document
       7
               20101819203 on December 9th, 2010 recorded by the convicted California
       8       Reconveyance Company.

       9
               EXHIBIT 16 is a Notice of Trustee’s Sale, and is recorded in the official records of
      10       the Recorders office in Los Angeles County, California, Document 20110178407 on
               February 2nd, 2011 recorded by the convicted California Reconveyance Company.
      11

      12       EXHIBIT 17 is a Substitution of Trustee and Full Reconveyance, and is recorded in
               the official records of the Recorders office in Los Angeles County, California,
      13       Document 20120302504 on February 27th, 2012 recorded by the convicted
      14       California Reconveyance Company.

      15       EXHIBIT 18 is a Corporate Assignment of Deed of Trust, and is recorded in the
      16       official records of the Recorders office in Los Angeles County, California, Document
               20120703205 on May 10th, 2012 recorded by the JPMorgan Chase Bank, who
      17       claimed originally to be a servicer, and in this document claims to be the successor in
      18       interest to the defunct Mortgage Store and purported successor, the Trust, and the
               void mortgage.
      19

      20       EXHIBIT 19 is a NOTICE OF TRUSTEE’S SALE, and is recorded in the official
               records of the Recorders office in Los Angeles County, California, Document
      21       20121675620 on November 5th, 2012 recorded by the same convicted California
      22       Reconveyance Company.

      23       EXHIBIT 20 is a SUBSTITUTION OF TRUSTEE, and is recorded in the official
      24       records of the Recorders office in Los Angeles County, California, Document
               20150551613 on May 13th, 2015 recorded by Trustee Corps.
      25

      26       Exhibit 20 purports to claim that U.S. Bank National Association has substituted the
               trustee, but as seen in Exhibit 18, JPMorgan Chase claims to be the assignee of the
      27       subject mortgage, and therefore there is no authority to substitute trustees by the
      28       assignor, US Bank.

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       1
                  EXHIBIT 21 is a Trustee Corps Notice of Trustees sale, and recorded in the official
       2          records of Los Angeles County, California 20150609241 on May 26th, 2015.

       3
                  EXHIBIT 22 is a Trustee Corps Notice of Trustees sale, and recorded in the official
       4          records of Los Angeles County, California 20151072190 on August 31st, 2015.

       5
                  EXHIBIT 23 is an admission of fraud and a Notice of Rescission of Notice of
       6          Default and Election to Sell Under Deed of Trust, and recorded in the official records
                  of Los Angeles County, California 20161343577 on October 31st, 2016.
       7

       8          EXHIBIT 24 is another fraudulent Substitution of Trustee and recorded in the official
                  records of Los Angeles County, California 20181079618 on October 31st, 2016, this
       9
                  time designating National Default Servicing Corporation.
      10
                  EXHIBIT 25 is a short form deed of trust and assignments of rents by CAA Inc and
      11          recorded in the official records of Los Angeles County, California 20101843661 on
      12          December 14th, 2010.

      13          EXHIBIT 27 is the Lis Pendens Document 20130755532 recorded in the official
      14          records of Los Angeles County, California on May 20th, 2013.

      15          EXHIBIT 29 is the Deed of Trust in favor of Limelite Reconveyance, recorded in the
      16          official records of Los Angeles County, California Document Number 20151189072,
                  on September 24th, 2015.
      17

      18          EXHIBIT 32 is the Notice of Assessment, recorded in the official records of Los
                  Angeles County, Document Number 20170535425, on May 15th, 2017.
      19

      20          EXHIBIT 33 is the Notice of Assessment, recorded in the official records of Los
                  Angeles County, Document Number 20170535425, on May 15th, 2017.
      21

      22   262.   Pursuant to Business and Professions Code §17203, that all Defendants, their

      23          successors, agents, representatives, employees, and all persons who act in concert

      24          with them be ordered to pay the Plaintiff by committing any acts of unfair
      25
                  competition in violation of §17200, including, but not limited to, the violations
      26
                  alleged herein.
      27

      28

                                            PLAINTIFF’S COMPLAINT
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           263.   For civil penalties pursuant to civil conspiracy, statute, restitution, injunctive relief
       1

       2          and reasonable attorney’s fees according to proof.

       3   264.   For reasonable costs of suit and such other and further relief as the Court deems

       4          proper.
       5   265.   That during the pendency of these proceedings, the court find that real property is
       6
                  unique, and the Plaintiff would suffer irreparable harm if the home were sold and
       7
                  therefore issue a preliminary injunction and permanent injunction prohibiting the
       8
                  Defendant or any other person or entity from listing the subject property for sale or
       9
      10          selling the subject property.

      11

      12
           January 7, 2020
      13
                                                  HEIDI M. LOBSTEIN
      14
                                                  PLAINTIFF PRO SE
      15                                          3852 MCLAUGHLIN AVENUE
                                                  Los Angeles, CA 90066
      16                                          phone: 310-439-1146
                                                  email: lobstein8@gmail.com
      17

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      19

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                                              PLAINTIFF’S COMPLAINT
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       1

       2                                     Verification of Complaint

       3
                  I, HEIDI M. LOBSTEIN, am the plaintiff in this action. I am familiar with the factual
       4
           allegations in this complaint and TRO applications. Such facts are true as stated herein,
       5
           except as to those matters which are based on my information and belief, and as to those
       6
           matters, I believe them to be true. I declare under penalty of perjury the foregoing is true.
       7
           Signed in LOS ANGELES County, California, on
       8

       9
      10   January 7, 2020

      11                                         HEIDI M. LOBSTEIN
                                                 PLAINTIFF PRO SE
      12                                         3852 MCLAUGHLIN AVENUE
      13                                         Los Angeles, CA 90066
                                                 phone: 310-439-1146
      14                                         email: lobstein8@gmail.com

      15

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                                             PROOF OF SERVICE
    1                                         [C.C.P. §1013A(3)]
    2
        STATE OF CALIFORNIA                   )
    3                                         )       ss:
        COUNTY OF LOS ANGELES                 )
    4

    5           I am employed in the County of __Los Angeles________, State of California. I am over
    6
        the age of 18 years and am not a party to the within action. My business address is __________
    7

    8
                On      __________, I served the foregoing documents described as PLAINTIFF’S
    9
        FIRST AMENDED COMPLAINT on the interested parties in this action by placing a true
   10
        copy thereof enclosed in a sealed envelope, certified mail, return receipt requested, and
   11
        addressed as follows:
   12

   13
        Steven M. Dailey (SBN 163857)
   14   Rebecca L. Wilson (SBN 257613)
        KUTAK ROCK LLP
   15
        5 Park Plaza, Suite 1500 Irvine, CA
   16   92614-8595
        Telephone: (949) 417-0999
   17
        Facsimile: (949) 417-5394
   18   Email: Steven.dailey@kutakrock.com
        Email: Rebecca.wilson@kutakrock
   19

   20           __      BY MAIL

   21
                        I deposited such envelope into the mail at __Los Angeles________, California.
   22
        The envelope was mailed with postage prepaid is affixed with postage thereon fully prepaid and
   23
        deposited with the U.S. Postal Service in __Los Angeles______________, California on the
   24
        same day. I am aware that on motion of a party served, service is presumed invalid if the postal
   25
        cancellation date or the postage meter date is more than one (1) day after the date of deposit for
   26
        mailing in this affidavit.
   27

   28

                                                  Proof of Service
                                                         1
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    1          ___    BY PERSONAL SERVICE
    2
                      I hand delivered such envelope to the offices of the addressee(s) listed above.
    3

    4

    5                 I declare under penalty of perjury under the laws of the State of California that
    6   the foregoing is true and correct. Executed ___January 8, 2020_______
    7   at _Los Angeles_________ , California.
    8

    9
                                                  _____________________________
   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26
   27

   28

                                                 Proof of Service
                                                        2
